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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KELVIN GREEN,

                        Plaintiff,                     Case Number 18-cv-7649
v.
                                                       JURY DEMANDED
TRANS UNION, LLC,

                        Defendant.


                                           COMPLAINT

        KELVIN GREEN, (“Plaintiff”), by his attorney, Cass T. Casper, TALON LAW, LLC,

complains as follows against TRANS UNION, LLC.

                                     NATURE OF THE ACTION

     1. This is an action for relief from employment discrimination in violation of the

Age Discrimination in Employment Act (“ADEA”) stemming from Plaintiff’s termination on

June 3, 2018 based on his age, 66.

                                     JURISDICTION & VENUE

     2. Jurisdiction of this Court arises by its authority to adjudicate matters arising under federal

law pursuant to 28 U.S.C. §§ 1331 because the claim stated herein is for violations of the ADEA.

     3. Jurisdiction of this Court also arises under 29 U.S.C. § 626(c) of the ADEA, which

authorizes Plaintiff to bring a civil action in any court of competent jurisdiction for such legal

and equitable relief as will effectuate the purposes of the ADEA.

     4. Plaintiff filed timely charges of discrimination against Defendant TRANS UNION, LLC

with the Illinois Department of Human Rights/United States Equal Employment Opportunity

Commission (“EEOC”).
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   5. The EEOC issued a Notice of Right to Sue letter to Plaintiff Kelvin Green on August 20,

2018, and this Complaint is timely filed within 90 days of receipt of that Notice of Right to Sue

Letter. A copy is attached hereto as Exhibit A.

   6. More than 60 days have elapsed since Plaintiff filed his charges of discrimination with the

EEOC.

   7. Plaintiff has exhausted all administrative prerequisites to bring this lawsuit.

   8. Venue is proper in the Northern District of Illinois under 28 U.S.C. § 1391 because

the events or omissions giving rise to the claims herein have occurred in this district, and because

Defendant is headquartered in this district.

                                               PARTIES

   9. Plaintiff KELVIN GREEN is a natural person, a 66-year old legal adult, and a resident

of the State of Illinois. Until his termination on June 3, 2018, he was employed by Defendant

TRANS UNION, LLC

   10. Defendant TRANS-UNION, LLC is a credit and information management company that

is headquartered at 555 West Adams Street, Cook County, Chicago, Illinois.

   11. Defendant is engaged in an industry affecting commerce that has twenty or more

employee each working day in each of twenty or more calendar weeks a year.

   12. Defendant is an employer within the meaning of the ADEA.

                             FACTS COMMON TO ALL COUNTS

   13. Plaintiffs repeat, re-allege and incorporate by reference, the allegations in all

other paragraphs of this Complaint with the same force and effect as if herein set forth.

   14. Plaintiff has worked for TransUnion or its affiliate, Acxiom, since the 1970’s performing

technology services.

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    15. Since about the beginning of 2012, Plaintiff has been a Team Leader within Defendant’s

Global Operations Center (“GOC”) in Defendant’s Chicago, Illinois office. The GOC has

the responsibility to monitor Defendant’s technology systems to avoid technology-based

issues that impact customer access to Defendant’s services.

    16. Plaintiff was at all time responsible for managing eight employees in the GOC, and to

provide general guidance to his Team.

    17. During his decades-long career with Defendant, Plaintiff performed and was rated at a

satisfactory level.

    18. In late 2017, Brian Deasy (“Deasy”) became the GOC Director and began overseeing all the

teams within the GOC.

    19. After Deasy began his employment, Plaintiff was subjected to placement on a warrantless

corrective counseling plan in March 2018, and then terminated on June 4, 2018.

    20. Around the same time Plaintiff was terminated, two other Team Leaders, both of whom

were over 40 years of age, were also terminated.

    21. Plaintiff and the two other terminated Team Leaders were among the highest paid Team

Leaders at Defendant’s Chicago location due to their seniority, longevity, and years of

service.

    22. Defendant, at least through Deasy, terminated Plaintiff because of his age, 66.

                   COUNT I: 29 U.S.C. § 621, et seq.
DEFENDANT TERMINATED PLAINTIFF INTENTIONALLY BECAUSE OF HIS AGE
                 (66) IN VIOLATION OF THE ADEA

    23. Plaintiff repeats, re-alleges, and incorporates by reference, the allegations in all

other paragraphs of this Complaint with the same force and effect as if herein set forth.



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   24. The ADEA makes it unlawful for employers and their agents “to discharge any individual

or otherwise discriminate against any individual with respect to his compensation, terms,

conditions, or privileges of employment, because of such individual’s age.” 29 U.S.C. §

623(a)(2).

   25. At all times, Plaintiff performed his Team Leader job consistent with Defendant’s

expectations.

   26. After Plaintiff’s termination in June 2018, a younger employee under the age of 40 was

reassigned to Plaintiff’s Team Leader position.

   27. Two other Team Leaders, both over the age of 40, were terminated contemporaneously

with Plaintiff in June 2018, and a younger employee under the age of 40 was reassigned to

take over at least one of their positions.

   28. Of the three Team Leaders terminated from Defendant’s Chicago Office in June 2016, all

three were over the age of 40 and had years of seniority with the Company.

   29. Of the three Team Leaders terminated from Defendant’s Chicago Office in June 2016, at

least two were replaced by workers under the age of 40 with less seniority.

   30. Firing Plaintiff was Defendant’s way of intentionally weeding out older, more senior

members of the workforce.

   31. The terminations were all done at the direction and behest of Deasy, who was the same

second-line supervisor of all three terminated Team Leaders, including Plaintiff.

   32. Defendant terminated Plaintiff intentionally because of Plaintiff’s age, 66, in violation of

the ADEA.

   33. As a direct and proximate result of the foregoing violations of the ADEA, Plaintiff has



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sustained economic and non-economic damages, including, but not limited to, job loss,

and loss of wages and benefits.

   WHEREFORE, Plaintiff prays that this Honorable Court enter Judgment in his favor

and against Defendant for (A) lost wages, employment benefits, and other compensation

lost as a result of Defendant’s discriminatory action on the basis of age, together with

prejudgment interest; (B) liquidated damage doubling the award of interest, wages, lost

employment benefits, and other compensation lost to Plaintiff as a result of Defendant’s

discriminatory against him on the basis of age; (C) reinstatement to the position of Team

Leader, plus back pay for all lost wages; (D) reasonable attorney’s fees, expert witness

fees, expenses, costs of this action and all other costs; and, (E) such other relief that this

Court deems just and appropriate.

                      COUNT II: 29 U.S.C. § 621, et seq.
    DEFENDANT UTILIZED CRITERIA IN ASSESSING THE PERFORMANCE OF
     PLAINTIFF AND THE OTHER TEAM LEADERS THAT HAD A DISPARATE
               IMPACT ON EMPLOYEES OVER THE AGE OF 40

   34. Plaintiff repeats, re-alleges, and incorporates by reference, the allegations in all

other paragraphs of this Complaint with the same force and effect as if herein set forth.

   35. The ADEA as interpreted prohibits employers from using facially age-neutral policies

and/or practices that have a significant adverse disparate impact on qualified workers over

the age of 40, such as Plaintiff.

   36. Beginning in or fall 2017 and continuing at least through June 2018, Defendant instituted

performance policies and practices that, while neutral on their face, had the effect of

creating an adverse disparate impact on persons over 40, including Plaintiff.

   37. Defendant instituted policy changes to GOC’s infrastructure, customer complaint ticketing



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system, and dashboard system and performance expectations that had a disparate impact

on Team Leaders who were over the age of forty (40) such that all three Team Leaders

over the age of forty (40) in GOC were terminated as a result.

   38. After a reasonable opportunity for discovery, it will be shown that, statistically,

Defendant’s performance policies adopted in or about fall 2017 and its failure to provide

updated training regarding such policies to the Team Leaders has caused discrimination

against others over the age of 40, including Plaintiff, in violation of the ADEA.

   39. As a direct and proximate result of the foregoing violations of the ADEA, Plaintiff has

sustained economic and non-economic damages, including, but not limited to, job loss,

and loss of wages and benefits.

   WHEREFORE, Plaintiff prays that this Honorable Court enter Judgment in his favor

and against Defendant for (A) lost wages, employment benefits, and other compensation

lost as a result of Defendant’s discriminatory action on the basis of age, together with

prejudgment interest; (B) liquidated damage doubling the award of interest, wages, lost

employment benefits, and other compensation lost to Plaintiff as a result of Defendant’s

discriminatory against him on the basis of age; (C) reinstatement to the position of Team

Leader plus back pay for all lost wages; (D) reasonable attorney’s fees, expert witness

fees, expenses, costs of this action and all other costs; and, (E) such other relief that this

Court deems just and appropriate.

                          JURY DEMANDED AS TO ALL COUNTS

DATED: November 17, 2018

                                                         Respectfully submitted,

                                                         /s Cass T. Casper
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                                                    Cass T. Casper, Esq.
                                                    Plaintiff’s Attorney

Cass T. Casper, Esq.
Illinois Attorney Registration Number 6303022
TALON LAW, LLC
79 West Monroe Street, Suite 1213
Chicago, Illinois 60603
Phone: (312) 351-2478 | Fax: (312) 276-4930
Email: ctc@talonlaw.com




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